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                                    Exhibit B Page 1 of 1


                     NOTICE OF ADJOURNMENT OF RECOGNITION HEARING

                  In re MtGox Co., Ltd. (a/k/a MtGox KK), Case No. 14-31229-sgj15
         United States Bankruptcy Court for the Northern District of Texas, Dallas Division

        PLEASE TAKE NOTICE that the hearing on the Petitioner’s Petition for Recognition and Chapter
15 Relief [Dkt. No. 1] (the “Recognition Hearing”) set for April 1, 2014 at 1:30 p.m. and to continue, if
necessary on April 2, 2014 at 9:30 a.m. (CST) has been adjourned to May 6, 2014 at 9:30 a.m.
(Prevailing Central Time), and will take place before the Honorable Stacey G.C. Jernigan, at the
                                                                      th
United States Bankruptcy Court, Northern District of Texas, 14 Floor, 1100 Commerce Street,
Dallas, Texas 75252.

         PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the Petitioner’s
Petition for Recognition and Chapter 15 Relief must be made in writing describing the basis therefor and
shall be filed with this Court and served upon Baker & McKenzie LLP, 2300 Trammell Crow Center, 2001
Ross Avenue, Dallas, Texas 75201 (Attention: David W. Parham and John Mitchell) and Baker &
McKenzie LLP, 300 East Randolph Drive, Suite 5000, Chicago, Illinois 60602 (Attention: Erin E.
Broderick), United States counsel to the Petitioner, so as to be received on or before 4:00 p.m. (Central
Time) seven days prior to the Recognition Hearing.

         PLEASE TAKE FURTHER NOTICE that copies of the Petition for Recognition and Chapter 15
Relief and accompanying papers are available to parties-in-interest on the Bankruptcy Court’s Electronic
Case Filing System, which can be accessed at this website: http://www.deb.uscourts.gov (a PACER login
and password are required to retrieve a document), or upon written notice to the United States counsel to
the Petitioner at the contact information above.




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